                                   Case 18-12808-KG                 Doc 1        Filed 12/13/18           Page 1 of 15

Fill in this information to identify your case:

United States Bankruptcy Court for the:

DISTRICT OF DELAWARE

Case number (if known)                                                      Chapter      11
                                                                                                                           Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                           4/16
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and case number (if known).
For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                White Eagle Asset Portfolio, LP

2.   All other names debtor
     used in the last 8 years
     Include any assumed
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  5355 Town Center Road
                                  Suite 701
                                  Boca Raton, FL 33486
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  Palm Beach                                                      Location of principal assets, if different from principal
                                  County                                                          place of business

                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)       N/A


6.   Type of debtor                  Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                   Partnership (excluding LLP)
                                   Other. Specify:




Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                              page 1
                                       Case 18-12808-KG                Doc 1        Filed 12/13/18            Page 2 of 15
Debtor    White Eagle Asset Portfolio, LP                                                           Case number (if known)
          Name



7.   Describe debtor's business        A. Check one:
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                          None of the above

                                       B. Check all that apply
                                        Tax-exempt entity (as described in 26 U.S.C. §501)
                                        Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                        Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor.
                                          See http://www.uscourts.gov/four-digit-national-association-naics-codes.
                                                5242

8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
     debtor filing?
                                        Chapter 7
                                        Chapter 9
                                          Chapter 11. Check all that apply:
                                                             Debtor's aggregate noncontingent liquidated debts (excluding debts owed to insiders or affiliates)
                                                                 are less than $2,566,050 (amount subject to adjustment on 4/01/19 and every 3 years after that).
                                                             The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the debtor is a small
                                                                 business debtor, attach the most recent balance sheet, statement of operations, cash-flow
                                                                 statement, and federal income tax return or if all of these documents do not exist, follow the
                                                                 procedure in 11 U.S.C. § 1116(1)(B).
                                                             A plan is being filed with this petition.
                                                             Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                 accordance with 11 U.S.C. § 1126(b).
                                                             The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                 Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                 attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                 (Official Form 201A) with this form.
                                                             The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                        Chapter 12


9.   Were prior bankruptcy
     cases filed by or against
                                        No.
     the debtor within the last 8       Yes.
     years?
     If more than 2 cases, attach a
     separate list.                              District                                 When                               Case number
                                                 District                                 When                               Case number


10. Are any bankruptcy cases            No
    pending or being filed by a
    business partner or an              Yes.
    affiliate of the debtor?
     List all cases. If more than 1,
     attach a separate list                      Debtor     See Attachment                                               Relationship
                                                 District                                 When                           Case number, if known




Official Form 201                              Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                page 2
                                    Case 18-12808-KG                Doc 1        Filed 12/13/18              Page 3 of 15
Debtor   White Eagle Asset Portfolio, LP                                                         Case number (if known)
         Name



11. Why is the case filed in    Check all that apply:
    this district?
                                      Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                       preceding the date of this petition or for a longer part of such 180 days than in any other district.

                                      A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.


12. Does the debtor own or
    have possession of any
                                 No
    real property or personal    Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
    property that needs
    immediate attention?                   Why does the property need immediate attention? (Check all that apply.)
                                            It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                             What is the hazard?
                                            It needs to be physically secured or protected from the weather.
                                            It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                             livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                            Other
                                           Where is the property?
                                                                            Number, Street, City, State & ZIP Code
                                           Is the property insured?
                                            No
                                            Yes. Insurance agency
                                                        Contact name
                                                        Phone



         Statistical and administrative information

13. Debtor's estimation of      .       Check one:
    available funds
                                         Funds will be available for distribution to unsecured creditors.
                                         After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of          1-49                                           1,000-5,000                               25,001-50,000
    creditors                                                                    5001-10,000                               50,001-100,000
                                 50-99
                                 100-199                                        10,001-25,000                             More than100,000
                                 200-999

15. Estimated Assets             $0 - $50,000                                   $1,000,001 - $10 million                  $500,000,001 - $1 billion
                                 $50,001 - $100,000                             $10,000,001 - $50 million                 $1,000,000,001 - $10 billion
                                 $100,001 - $500,000                            $50,000,001 - $100 million                $10,000,000,001 - $50 billion
                                 $500,001 - $1 million                          $100,000,001 - $500 million               More than $50 billion

16. Estimated liabilities        $0 - $50,000                                   $1,000,001 - $10 million                  $500,000,001 - $1 billion
                                 $50,001 - $100,000                             $10,000,001 - $50 million                 $1,000,000,001 - $10 billion
                                 $100,001 - $500,000                            $50,000,001 - $100 million                $10,000,000,001 - $50 billion
                                 $500,001 - $1 million                          $100,000,001 - $500 million               More than $50 billion




Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                   page 3
                               Case 18-12808-KG                                        Doc 1                Filed 12/13/18                     Page 4 of 15

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             Request far Relief, Deciaraf[on, and Signatures

 WARNING -- Elankrizptsy fraud is a serit~us crime. Making a f~k~c~ stafFr~iont in ca~zn~~;tiim wiEf~ a ba+rkruptcy case e~~n resulk ire finis u~r to ~50Q,OOq or
            irrrpr~,onment far up to 20 years, or both. 18 U..:.C. §§ 152, ~ 3~€#, 1514, and 3571.

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                                    Contact shone           3Q?-fa~2-~1't00                           "cma~ address         crabinsonc~spsxjlaw,cnm

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                                   Case 18-12808-KG               Doc 1       Filed 12/13/18              Page 5 of 15
Debtor     White Eagle Asset Portfolio, LP                                                   Case number (if known)
           Name




Fill in this information to identify your case:

United States Bankruptcy Court for the:

DISTRICT OF DELAWARE

Case number (if known)                                                    Chapter     11
                                                                                                                       Check if this an
                                                                                                                          amended filing




                                                       FORM 201. VOLUNTARY PETITION

                                                    Pending Bankruptcy Cases Attachment



Debtor     Lamington Road Designated Activity Company                               Relationship to you               Affiliate
District   Delaware                                   When     11/14/18             Case number, if known             18-12615
Debtor     White Eagle General Partner, LLC                                         Relationship to you               Affiliate
District   Delaware                                   When     11/14/18             Case number, if known             18-12614




Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                    page 5
Case 18-12808-KG   Doc 1   Filed 12/13/18   Page 6 of 15
Case 18-12808-KG   Doc 1   Filed 12/13/18   Page 7 of 15
Case 18-12808-KG   Doc 1   Filed 12/13/18   Page 8 of 15
Case 18-12808-KG   Doc 1   Filed 12/13/18   Page 9 of 15
                                     Case 18-12808-KG                Doc 1       Filed 12/13/18        Page 10 of 15
   Fill in this information to identify the case:

   Debtor name    White Eagle Asset Portfolio, LP
   United States Bankruptcy Court for the:   District of Delaware
                                                                             (State)
                             18-                                                                                                            Check if this is an
   Case number (If known):
                                                                                                                                            amended filing




 Official Form 204
 Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest
 Unsecured Claims and Are Not Insiders                                                                                                                    12/15

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the debtor
disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not include claims by
secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor among the holders of the 20
largest unsecured claims, on a consolidated basis.


 None [check if applicable]
 Name of creditor and complete mailing Name, telephone number, and       Nature of the       Indicate if     Amount of unsecured claim
 address, including zip code           email address of creditor         claim               claim is        If the claim is fully unsecured, fill in only unsecured
                                       contact                           (for example,       contingent,     claim amount. If claim is partially secured, fill in total
                                                                         trade debts, bank   unliquidated,   claim amount and deduction for value of collateral or
                                                                         loans,              or disputed     setoff to calculate unsecured claim.
                                                                         professional
                                                                         services, and
                                                                         government
                                                                         contracts)                          Total claim, if   Deduction for     Unsecured claim
                                                                                                             partially         value of
                                                                                                             secured           collateral or
                                                                                                                               setoff
  1. Holland & Knight LLP                     701 Brickell Avenue        Professional                                                               $327,739.47
     P.O. Box 864084                          Suite 3300                 Services
     Orlando, FL 38286‐4084                   Miami, FL 33131
                                              Attn: Jesus Cuza
                                              jesus.cuza@hklaw.com
  2. MLF Lexserv                     4350 East‐West Highway,             Professional                                                               $144,137.50
     4350 East‐West Highway, Suite Suite 905                             Services
     905                             Attn: Nathan A. Evans,
     Attn: Nathan A. Evans,          President & CEO
     President & CEO                 Bethesda, MD 2081
     Bethesda, MD 20814              Tel: 301‐347‐4479
                                     Fax: 301‐347‐4403
  3. Curtis, Malllet‐Prevost, Colt & 101 Park Avenue                     Professional                                                               $117,423.35
     Mosle, LLP                      New York, NY 10178‐0061             Services
     P.O. Box 27930                  Attn: Gabriel Hertzberg
     New York, NY 10087‐7930         ghertzberg@curtis.com
  4. Weinberg Zareh Malkin Price              45 Rockefeller Plaza       Professional                                                                 $22,364.75
     LLP                                      20th Floor                 Services
     45 Rockefeller Plaza                     New York, NY 10111
     20th Floor                               Tel: 212‐899.5470
     New York, NY 10111                       Fax: 516‐623‐9457
  5. K&L Gates LLP                            600 N King Street        Professional                                                                   $21,028.00
     600 N King Street                        Suite 901                Services
     Suite 901                                Wilmington, DE 19801
     Wilmington, DE 19801                     Attn: Scott Waxman
                                              scott.waxman@klgates.com

DOCS_SF:98205.1
                                 Case 18-12808-KG              Doc 1      Filed 12/13/18             Page 11 of 15
  Debtor        White Eagle Asset Portfolio, LP                                            Case number (if known)18-
               Name




 Name of creditor and complete mailing Name, telephone number, and    Nature of the       Indicate if     Amount of unsecured claim
 address, including zip code           email address of creditor      claim               claim is        If the claim is fully unsecured, fill in only unsecured
                                       contact                        (for example,       contingent,     claim amount. If claim is partially secured, fill in total
                                                                      trade debts, bank   unliquidated,   claim amount and deduction for value of collateral or
                                                                      loans,              or disputed     setoff to calculate unsecured claim.
                                                                      professional
                                                                      services, and
                                                                      government
                                                                      contracts)                          Total claim, if   Deduction for     Unsecured claim
                                                                                                          partially         value of
                                                                                                          secured           collateral or
                                                                                                                            setoff
  6. Waldman Trigoboff                  Plaza 100, Suite 780         Professional                                                                  $13,599.96
     Hildebrandt & Calnan, P.A.         100 N.E. Third Avenue        Services
     Plaza 100, Suite 780               Fort Lauderdale, FL 33301
     100 N.E. Third Avenue              Tel: 954‐467‐8600
     Fort Lauderdale, FL 33301          Fax: 954‐467‐6222
  7. Daniel Coker Horton & Bell         4400 Old Canton Road         Professional                                                                   $1,284.00
     4400 Old Canton Road               Suite 400                    Services
     Suite 400                          Jackson, MS 39215‐1084
     Jackson, MS 39215‐1084             Alfred Smith
                                        Tel: 601‐969‐7607
                                        Fax: 601‐969‐1116
                                        asmith@danielcoker.com




Official Form 204     Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims (on a consolidated basis)                     page 2
DOCS_SF:98205.1
                  Case 18-12808-KG       Doc 1    Filed 12/13/18      Page 12 of 15



                         IN THE UNITED STATES BANKRUPTCY COURT

                                FOR THE DISTRICT OF DELAWARE

In re:                                                Chapter 11

WHITE EAGLE ASSET PORTFOLIO, LP,                      Case No. 18-_____ (___)

                               Debtor.

                   CORPORATE OWNERSHIP STATEMENT (RULE 7007.1)


               Pursuant to Federal Rule of Bankruptcy Procedure 7007.1 and to enable the Judges
to evaluate possible disqualification or recusal, the Debtor, certifies that the following is a
corporation other than the Debtor, or a governmental unit, that directly or indirectly owns 10% or
more of any class of the corporation’s equity interests, or states that there are no entities to report
under FRBP 7007.1.


 None [check if applicable]

           Name:           Lamington Road Designated Activity Company
           Address:        c/o AMS Limited
                           One Lane Hill, East Broadway
                           Box Hm265
                           Hamilton HMAX
                           BERMUDA




DOCS_SF:98205.1
                  Case 18-12808-KG      Doc 1    Filed 12/13/18     Page 13 of 15



                         IN THE UNITED STATES BANKRUPTCY COURT

                               FOR THE DISTRICT OF DELAWARE

In re:                                              Chapter 11

WHITE EAGLE ASSET PORTFOLIO, LP,                    Case No. 18-_____ (___)

                              Debtor.


                            LIST OF EQUITY SECURITY HOLDERS


Following is the list of the Debtor’s equity security holders which is prepared in accordance with rule
1007(a)(3) for filing in this Chapter 11 Case:



  Name and Last Known Address or             Security       Number of          Kind of Interest
    Place of Business of Holder               Class         Securities
Lamington Road Designated Activity
Company
c/o AMS Limited
One Lane Hill, East Broadway                                                 99.9% ownership
Box Hm265
Hamilton HMAX
BERMUDA
White Eagle General Partner, LLC
c/o AMS Limited
One Lane Hill, East Broadway
                                                                             0.1% ownership
Box Hm265
Hamilton HMAX
Bermuda




DOCS_SF:98205.1
                  Case 18-12808-KG     Doc 1   Filed 12/13/18    Page 14 of 15



                      IN THE UNITED STATES BANKRUPTCY COURT

                            FOR THE DISTRICT OF DELAWARE

In re:                                            Chapter 11

WHITE EAGLE ASSET PORTFOLIO, LP,                  Case No. 18-_____ (___)

                             Debtor.

                        CERTIFICATION OF CREDITOR MATRIX


               Pursuant to Rule 1007-2 of the Local Rules of Bankruptcy Practice and Procedure
for the United States Bankruptcy Court for the District of Delaware, the above captioned debtor
(the “Debtor”) hereby certifies that the Creditor Matrix submitted herewith contains the names
and addresses of the Debtor’s creditors. To the best of the Debtor’s knowledge, the Creditor
Matrix is complete, correct, and consistent with the Debtor’s books and records.

                The information contained herein is based upon a review of the Debtor’s books
and records as of the petition date. However, no comprehensive legal and/or factual
investigations with regard to possible defenses to any claims set forth in the Creditor Matrix
have been completed. Therefore, the listing does not, and should not, be deemed to constitute:
(1) a waiver of any defense to any listed claims; (2) an acknowledgement of the allowability of
any listed claims; and/or (3) a waiver of any other right or legal position of the Debtor.




DOCS_SF:98205.1
  Case 18-12808-KG   Doc 1   Filed 12/13/18   Page 15 of 15




December 13, 2018
